                 Case 1:17-cr-00164-JLT-SKO
                                IN THE UNITEDDocument 36 FiledCOURT
                                             STATES DISTRICT   08/25/17 Page 1 of 2
                                            EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,

                               Plaintiff,

                       v.                                CR NO: 1:17-CR-00164 LJO SKO (001)

JOSE LUIS ZAMBRANO, ET AL.

                              Defendant.


                                APPLICATION FOR WRIT OF HABEAS CORPUS
             The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                        ☒ Ad Prosequendum                                   ☐ Ad Testificandum
Name of Detainee:     JOSE LUIS ZAMBRANO
Detained at           Lerdo Pre-Trial Facility, CA
Detainee is:          a.)    ☒ charged in this district by: ☒ Indictment ☐ Information ☐ Complaint
                                charging detainee with: SEE ATTACHMENT “A” FOR LIST OF CHARGES
                 or   b.)    ☐ a witness not otherwise available by ordinary process of the Court

Detainee will:        a.)      ☒ return to the custody of detaining facility upon termination of proceedings
                 or   b.)      ☐ be retained in federal custody until final disposition of federal charges, as a sentence
                                is currently being served at the detaining facility

                      Appearance is necessary FORTHWITH in the Eastern District of California.

                      Signature:                               /s/ BRIAN K. DELANEY
                      Printed Name & Phone No:                 BRIAN K. DELANEY (661) 489-6150
                      Attorney of Record for:                  United States of America

                                            WRIT OF HABEAS CORPUS
                            ☒ Ad Prosequendum                   ☐ Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, FORTHWITH, and any further proceedings to be
had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named custodian.
Dated:      August 25, 2017                                /s/  Barbara A. McAuliffe
                                                           Honorable Barbara A. McAuliffe
                                                           U.S. MAGISTRATE JUDGE

Please provide the following, if known:
AKA(s) (if                                                                                ☒Male      ☐Female
Booking or CDC #:      SO2184598                                                          DOB:       01/28/84
Facility Address:      17695 Industrial Farm Rd, Bakersfield                              Race:      White/Latino
Facility Phone:        (661) 391-7900                    CA 93308                         FBI#:      349977EE6
Currently

                                                  RETURN OF SERVICE
Executed
                                                                                   (signature)
              Case 1:17-cr-00164-JLT-SKO Document 36 Filed 08/25/17 Page 2 of 2

                                            ATTACHMENT A

                                     Charges re Jose Luis Zambrano


21 U.S.C. §§846 & 841(A)(1) – Conspiracy To Distribute And Possess With Intent To Distribute

       Methamphetamine And Heroin [Count 1]
21 U.S.C. §§ 841(A)(1) Distribution Of Heroin [Count 2]

21 U.S.C. § 841(A)(1) Possession With Intent To Distribute Methamphetamine [Count 4]

18 U.S.C. § 924(C)(1)(A) Possession Of A Firearm In Furtherance Of A Drug Trafficking Crime [Counts 8,10]

21 U.S.C. §§ 853, 881(A), 881(A)(6) - Criminal Forfeiture
